                                  CASE 0:25-cr-00153-JWB-DJF   Doc. 14   Filed 04/23/25   Page 1 of 1

                                                IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                 )          COURT MINUTES - CRIMINAL
                                                          )              BEFORE: DULCE J. FOSTER
                                       Plaintiff,         )                 U.S. Magistrate Judge
                                                          )
   v.                                                     )    Case No:           25-cr-153 JWB/DJF
                                                          )    Date:              April 23, 2025
Michael Paul Lewis,                                       )    Court Reporter:    Lori Simpson
                                                          )    Courthouse:        Minneapolis
                                       Defendant,         )    Courtroom:         8E
                                                               Time Commenced:    10:05 a.m.
                                                               Time Concluded:     10:39 a.m.
                                                               Time in Court:     34 minutes



X DETENTION HRG ONLY



APPEARANCES:

   Plaintiff: Andrew Winter, Assistant U.S. Attorney
   Defendant: Kate Adams, Assistant Federal Public Defender
                  X FPD

On X Indictment

X Personal Recognizance Bond with conditions, see Order Setting Conditions of Release.


Additional Information:

Defendant arraigned, see arraignment minutes and order.
-Govt admits Exhibit 1.
-Defense admits Exhibits 1-2.




                                                                                                   s/aln___________
                                                                                     Signature of Criminal Duty Clerk




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